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         /s/ Matthew P. Ward                         9/22/2020
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                                              Exhibit 1

                     PENDING OR CONCURRENT BANKRUPTCY
                  CASES FILED BY THE DEBTOR AND ITS AFFILIATES

        On the date hereof, each of the affiliated entities listed below filed a voluntary petition for
relief under title 15 of the United States Code in the United States Bankruptcy Court for the District
of Delaware. A motion is being filed with the Court requesting that the chapter 15 cases of these
entities be jointly administered for procedural purposes only. Additional detail regarding the
relationship of each debtor is set forth in the corporate ownership statement, filed
contemporaneously herewith.

 Debtor Name                    Relationship                 Case Number           Judge
 Hematite Holdings Inc.         Debtors’ parent              Not yet assigned      Not yet assigned
                                company

 Hematite Industrial            Affiliate of the other       Not yet assigned      Not yet assigned
 Products Inc.                  Debtors

 Hematite Manufacturing         Direct subsidiary of         Not yet assigned      Not yet assigned
 Inc.                           Hematite Holdings Inc.

 Canadian Pavaco Inc.           Direct subsidiary of         Not yet assigned      Not yet assigned
                                Hematite Holdings Inc.

 Pavaco Holdings U.S. Inc.      Indirect subsidiary of       Not yet assigned      Not yet assigned
                                Hematite Holdings Inc.

 Hematite, Inc.                 Indirect subsidiary of       Not yet assigned      Not yet assigned
                                Hematite Holdings Inc.

 Hematite Automotive            Indirect subsidiary of       Not yet assigned      Not yet assigned
 Products Inc.                  Hematite Holdings Inc.




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